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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGA
                              ATLANTA DIVISION

  MARY BRANCA,

            Plaintiff,

  v.                                            CASE NO..

  PORTFOLIO RECOVERY                            DEMAND FOR TRIAL BY
  ASSOCIATES, LCC,                              JURY

         Defendant.


                                   COMPLAINT

       Plaintiff, Mary Branca (hereinafter “Plaintiff’), by and through the

undersigned counsel, sues Defendant, Portfolio Recovery Associates, LLC

(hereinafter “Defendant”), and in support thereof respectfully alleges violations of

the Federal Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                 INTRODUCTION

       1.        The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and to prevent abusive “robo-calls.”

       2.        “The TCPA is designed to protect individual consumers from

receiving intrusive and unwanted telephone calls.”     Mims v. Arrow Fin. Servs.,

LLC, 132 S. Ct. 740 (2012).
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      3.    “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

scourge of modem civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we

want to rip the telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator

Hollings presumably intended to give telephone subscribers another option: telling

the autodialers to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F.

3d 1242 (11th Cir. 2014).

      4.    According to the Federal Communications Commission (FCC),

“Unwanted calls and texts are the number one complaint to the FCC. There are

thousands of complaints to the FCC every month on both telemarketing and

robocalls. The FCC received more than 215,000 TCPA complaints in 2014.” Fact

Sheet: Wheeler Proposal to Protect and Empower Consumers Against Unwanted

Robocalls, Texts to Wireless Phones, Federal Communications Commission, (May

27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676Al .pdf.

                            JURISDICTION AND VENUE

       5.   Jurisdiction and venue, for purposes of this action, are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action

involves violations of the TCPA.
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       6.    Subject matter jurisdiction and federal question jurisdiction, for

purposes of this action, are appropriate and conferred by 28 U.S.C. § 1331, which

provides that the District Courts shall have original jurisdiction of all civil actions

arising under the Constitution, laws, or treaties of the United States; and, this

action involves violations of 47 U.S.C. § 227(b)(l)(A)(iii). See Mims v. Arrow

Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B., 746

F.3d 1242, 1249 (llthCir. 2014).

      7.     Venue is proper in this District as Plaintiff resides within this District,

in Fulton County, Georgia, the violations described in this Complaint occurred in

this District and Defendant transacts business within this District.

                           FACTUAL ALLEGATIONS

      8.     Plaintiff is a natural person and citizen of the State of Georgia,

residing in Fulton County, Georgia.

      9.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A.,

755 F. 3d 1265   (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d
1242(11th Cir. 2014).

      10.    Defendant is a corporation responsible for attempting to collect an

alleged consumer debt from Plaintiff.
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       11.   Defendant is a corporate entity with its principal place of business

located at 120 Corporate Boulevard, Norfolk, Virginia 23502 and which conducts

business within the State of Georgia.

       12.   Plaintiff is the subscriber, regular user and carrier of the cellular

telephone number at issue in this action, (404) XXX-8055 (hereinafter “cellular

telephone”), and was the called party and recipient of Defendant’s hereinafter

described calls.

      13.    Defendant intentionally, knowingly and/or willfully harassed and

abused Plaintiff on numerous occasions by calling Plaintiffs cellular telephone,

beginning in or about June 2014, with such frequency as can reasonably be

expected to harass and in effort to collect upon an alleged debt.

      14.    Defendant’s calls to Plaintiff continued, on average, once per day.

      15.    Upon information and belief, some or all of the calls Defendant placed

to Plaintiffs cellular telephone were placed using an “automatic telephone dialing

system” (hereinafter “Autodialer”), which has the capacity to store or produce

telephone numbers to be called, using a random or sequential number generator

(including but not limited to a predictive dialer) or an artificial or prerecorded

voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter

“autodialer calls”).
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        16.   Furthermore, each of the calls at issue were placed by Defendant

using an artificial or prerecorded voice, as specified by the TCPA, 47 U.S.C. §

227(b)(1)(A).

        17.   Beginning in or about June 2014, Defendant began bombarding

Plaintiffs cellular telephone in attempt to collect an alleged debt.

        18.   Upon receipt of the calls, Plaintiffs caller identification feature

identified the calls were being initiated from, but not limited to, the phone

numbers: (757)-51 2-50 18, (817)-479-9154, (757)-251-0504, (731)-345-4195,

(440)-638-5278, (914)-595-7031, (731)-577-4212, (954)-606-9402, (757)-251-

0505, (757)-663-7884, (620)-708-4210, (731)-345-4195, (620)-708-4671, (440)-

638-5278, (757)-214-0428, (620)-263-3537, (954)-606-9402, (858)-568-7619,

(731)-256-7209, (205)-238-6057, (510)-343-3502, (866)-423-5021, and (510)-343-

3502.

        19.   Upon Plaintiffs receipt of one such call from Defendant, in or about

June 2015, Plaintiff answered the call, received Defendant’s artificial or

prerecorded message, held on the line to be connected to a live agent/representative

and informed said agent/representative to immediately cease all calls to her cellular

telephone;    furthermore,    Plaintiff   informed    Defendant’s      aforementioned

agent/representative that its incessant calls were harassing her and demanded
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Defendant immediately cease all calls to her cellular telephone; thereby,

unequivocally revoking any previously perceived expressed consent to be called

using Defendant’s Autodialer, predictive dialer, artificial voice or prerecorded

message.

       20.      During the aforementioned phone conversation with Defendant’s

agent/representative, Plaintiff explicitly revoked any previously perceived

expressed consent Defendant may have believed it had for placement of telephone

calls to Plaintiffs cellular telephone by the use of an Autodialer or artificial voice

or prerecorded message.

       21.      Each subsequent call Defendant placed to Plaintiffs cellular

telephone was done so after she revoked consent and without the express consent

of Plaintiff.

       22.      Each subsequent call Defendant placed to Plaintiffs cellular

telephone was knowingly and willfully placed to her cellular telephone without

express consent.

       23.      On multiple occasions, Plaintiff informed Defendant to immediately

cease calling her cellular telephone; however, despite these attempts, Defendant’s

calls to Plaintiffs cellular telephone continued.
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      24.   Defendant called Plaintiff on her cellular telephone in excess of one

hundred (100) times since June 2014 in attempt to collect an alleged debt.

      25.   Due to the extreme volume of calls Plaintiff received, Plaintiff was

unable to maintain a fully contemporaneous call log of each and every call she

received from Defendant; however, the following is a sample of calls Plaintiff

received from October 2014 through May 2015

                i. One call on October 29, 2014 at 6:52 p.m.;

               ii. One call on October 30, 2014 at 5:08 p.m.;

              iii. One call on October 31, 2014 at 10:52 a.m.;

              iv. One call on November 3, 2014 at 5:09 p.m.;

               v. One call on November 13, 2014 at 5:57 p.m.;

              vi. One call on November 19, 2014 at 5:52 p.m.;

              vii. One call on November 20, 2014 at 1:53 p.m.;

             viii. One call on November 24, 2014 at 5:04 p.m.;

              ix. One call on December 2, 2014 at 1:38 p.m.;

               x. One call on December 10, 2014 at 2:41 p.m.;

              xi. One call on January 5, 2015 at 6:26 p.m.;

              xii. One call on January 10, 2015 at 10:33 a.m.;

             xiii. One call on January 15, 2015 at 5:21 p.m.;
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               xiv. One call on January 26, 2015 at 3:53 p.m.;

                xv. One call on February 5, 2015 at 4:50 p.m.;

               xvi. One call on March 6, 2015 at 7:15 p.m.;

              xvii. One call on March 7, 2015 at 11:00 a.m.;

              xviii. Two calls on March 9, 2015 at 9:34 a.m. and 9:39 a.m.;

               xix. One call on March 10, 2015 at 4:47 p.m.;

                xx. One call on March 22, 2015 at 1:36 p.m.; and

               xxi. One call on May 19, 2015 at 7:57 p.m.

       26.    Defendant has, or should be in possession and/or control of, call logs,

account notes, Autodialer reports and/or other records that detail the exact number

of calls it placed to Plaintiff.

       27.    Despite actual knowledge of its wrongdoing, Defendant continued its

campaign of abuse by continuing to call Plaintiff despite not having Plaintiffs

express consent to call her cellular telephone.

       28.    Defendant has corporate policies and/or procedures to use an

Autodialer or artificial voice or prerecorded message, and to place autodialed calls,

just as it did to Plaintiffs cellular telephone in this case, with no way for the called

party and recipient of the calls, including Defendant, to permit, elect, or invoke the

removal of Plaintiff s cellular number from Defendant’s call list.
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       29.    The structure of Defendant’s corporate policies and procedures

permits the continuation of calls to individuals like Plaintiff, despite these

individuals revoking any consent, or perceived consent, Defendant may have

believed it had to place such calls.

       30.    Defendant’s corporate policies and procedures provided no means for

Plaintiff to have her cellular number removed from Defendant’s call list; or,

otherwise invoke and/or request the cessation and/or suppression of calls to

Plaintiff from Defendant.

       31.    Defendant has corporate policies or procedures of using an Autodialer

or an artificial voice or prerecorded message to collect alleged debts from

individuals, such as Plaintiff, for its financial benefit.

      32.    Defendant has numerous other federal lawsuits pending against it

alleging similar violations as stated in this Complaint.

      33.    Defendant has numerous complaints against it, across the country,

asserting that its Autodialer continues to call individuals who have revoked consent

to be called by Defendant.

      34.    Defendant knowingly employs methods and/or has corporate policies

and/or procedures designed to harass and abuse individuals such as Plaintiff.
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        35.   Defendant knowingly employs methods that do not permit the

 cessation or suppression of autodialed calls to Plaintiffs cellular telephone.

        36.   None of Defendant’s telephone calls placed to Plaintiff were placed

 for “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

        37.   For each call Defendant placed to Plaintiffs cellular telephone

 without express consent, Plaintiff suffered from the occupation of her cellular

 telephone line and cellular telephone by unwelcomed calls which made the cellular

 phone unavailable for legitimate incoming or outgoing calls.

        38.   For each call Defendant placed to Plaintiffs cellular telephone

 without express consent, Plaintiff suffered from unnecessary expenditure of her

 time. The time Plaintiff spent on answered calls was unnecessary because she

 repeatedly asked for calls to stop. Additionally, Plaintiff expended unnecessary

 time for unanswered calls by dealing with notifications and call logs that reflected

 the unwanted calls. Furthermore, this also impaired the usefulness of these features

 of Plaintiff s cellular telephone, which are designed to inform the user of important

 missed communications.

        39.   Each and every call placed without express consent by Defendant to

 Plaintiff s cell phone was an injury in the form of a nuisance and annoyance to the

 Plaintiff.
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       40.    Each and every call Defendant placed to Plaintiffs cellular telephone

 without express consent resulted in the injury of unnecessary expenditure of

 Plaintiffs cellular telephone’s battery power.

       41.    Each and every call Defendant placed to Plaintiffs cellular telephone

 without express consent resulted in the injury of trespass to Plaintiffs chattel,

 namely her cellular telephone and cellular telephone services.

       42.    As a result of aforementioned tenacious phone calls and collection

 efforts, Plaintiff was affected, both personally and individually, as she experienced

 an invasion of privacy and the intrusion upon her right of seclusion. Plaintiff also

 suffered from stress, anxiety, nervousness, worry, hypertension, intimidation,

 emotional distress, panic attacks, crying, and dizziness. Additionally Plaintiff

 experienced loss of happiness, strain to her familial relationships, tranquility of old

 age, loss of sleep, was placed on special medication, and damage was done to her

 credit rating caused by inaccurate reporting, and. Furthermore, Plaintiff was

 hindered by the loss of phone battery life and phone minutes as well as the cost of

 additional charging, and the intrusion upon and occupation of the capacity of her

 cell phone. All of the abovementioned were caused by, and/or directly related to,

 Defendant’s attempts to collect a consumer debt allegedly owed by Plaintiff.
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                                       COUNT I
                                (Violation of the TCPA)

       43.    Plaintiff incorporates and realleges paragraphs one (1) through forty-

 two (42) as if fully set forth herein.

       44.    Defendant willfully violated the TCPA with respect to Plaintiff,

 especially for each of the Autodialer calls it made to Plaintiffs cellular telephone

 after Plaintiff notified and requested Defendant that he wished for the calls to

 immediately cease.

       45.    Defendant repeatedly placed non-emergency telephone calls to

 Plaintiffs cellular telephone using an Autodialer or artificial voice or prerecorded

 voice message without Plaintiffs prior express consent and in violation of federal

 law, including 47 U.S.C § 227(b)(l)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

 so triable and judgment against Defendant for statutory damages, punitive

 damages, actual damages, treble damages, enjoinder from further violations of

 these parts and any other such relief the Court may deem just and proper.

                                          Respect! flly submitted,



                                          Octavio yTav” Gomez, Esquire
                                          Morgan & Morgan, Tampa, P.A.
                                          201 North Franklin Street, 7th Floor
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